        Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 1 of 15




                           IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW MEXICO

ISAAC LEGARETTA,
and JOHN or JANE DOES 1-20,

        Plaintiff,

v.                                                                    No. 2:21-cv-00179-MV-GBW

FERNANDO MACIAS, Dona Ana County
Manager, DIRECTOR BRYAN BAKER, an
Official with the Dona Ana County Detention
Center, CAPTAIN BEN MENDOZA, an official
with the Dona Ana County Detention Center,
CAPTAIN JOSHUA FLEMING, an official with
the Dona Ana County Detention Center, and JOHN
or JANE DOES 1-20,

        Defendants.

     RESPONSE TO PLAINTIFF’S APPLICATION FOR TEMPORARY RESTRAINING
                   ORDER AND PRELIMINARY INJUNCTION1

        COME NOW Defendants Macias, Baker, Mendoza, and Fleming, by and through

undersigned counsel, and hereby offer the following response to Plaintiff’s “application for

temporary restraining order and preliminary injunction[.]”

                                             INTRODUCTION

        Plaintiff has requested this Court elevate his individual objection to receiving a COVID

vaccine over the health and safety of his coworkers, the detention center detainees and inmates,

and the public. In so requesting, his Complaint and Application ignore the current status of the

pandemic and of the public health emergency in the world, the Unites States, New Mexico, and

Dona Ana County. The following fact summary borrows heavily from Judge Browning’s opinion



1
 By filing this Response, Defendants do not waive service of process in this case. Defendants are in the process of
executing waivers of service pursuant to Rule 4. No Doe defendant has been identified or served nor are Doe
defendants allowed under the federal rules of civil procedure.
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 2 of 15




in ETP Rio Rancho Park, LLC v. Grisham, CIV 21-0092 JB/KK, 2021 WL 431215, at *2 (D.N.M.

Feb. 8, 2021). The coronavirus disease 2019 (“COVID-19”) is a pandemic that has spread around

the world, within the United States of America, and in New Mexico2. As of March 12, 2021, there

have been 28,940.137 cases of COVID-19 in the United States, and 525,495 deaths3. As of March

12, 2021, New Mexico has had 187,720 cases and 3,845 deaths4. COVID-19 is a contagious

disease that is spread through respiratory droplets that are released when infected individuals

cough, sneeze, or talk. See Mayo Clinic. Risk factors for COVID-19 include close contact --

typically defined as within six feet -- with someone who has COVID-19, or when a person infected

with COVID-19 coughs or sneezes around others5. Although COVID-19 may cause only mild

symptoms for some people, for others, COVID-19 can cause severe complications, including

pneumonia in both lungs, organ failure, and death6. COVID-19 symptoms can persist for months7.

COVID-19 can damage the lungs, heart, and brain, which increases the risk of long-term health

problems8. Signs and symptoms of COVID-19 typically appear two to fourteen days after

exposure. See Mayo Clinic. The time after exposure and before the appearance of symptoms is


2
     See Coronavirus disease 2019 (COVID-19), Mayo Clinic, https://www.mayoclinic.org/diseases-
conditions/coronavirus/symptoms-causes/syc-20479963 (last visited March 12, 2021)(“Mayo Clinic”).
3
  See WHO Coronavirus Disease (COVID-19) Dashboard, World Health Organization, https://covid19.who.int/ (last
visited March 12, 2021).
4
    See 2019 Novel Coronavirus Disease (COVID-19), New Mexico Department of Health (DOH),
https://cv.nmhealth.org/ (last visited March 12, 2021).
5
   See Mayo Clinic; COVID-19 Basics: Symptoms, Spread and Other Essential Information About the New
Coronavirus and COVID-19, Harvard Medical School (March 2020), https://www.health.harvard.edu/diseases-and-
conditions/covid-19-basics (last visited March 15, 2021).
6
  See COVID-19 Basics: Symptoms, Spread and Other Essential Information About the New Coronavirus and
COVID-19, Harvard Medical School (March 2020), https://www.health.harvard.edu/diseases-and-conditions/covid-
19-basics.
7
   See COVID-19 (coronavirus): Long-term effects, the Mayo Clinic, https://www.mayoclinic.org/diseases-
conditions/coronavirus/in-depth/coronavirus-long-term-effects/art-
20490351#:~:text=COVID%%202D19%20symptoms%20can,within%20a%20few%20weeks (last visited March 15,
2021).
8
   See COVID-19 (Coronavirus): Long-Term Effects, the Mayo Clinic, https://www.mayoclinic.org/diseases-
conditions/coronavirus/in-depth/coronavirus-long-term-effects/art-
20490351#:~:text=COVID%%202D19%20symptoms%20can,within%20a%20few%20weeks (last visited March 15,
2021).



                                                     2
        Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 3 of 15




called the incubation period. See Mayo Clinic. Individuals who have been infected, therefore,

usually do not know that they are infected for at least several days, and they may never know, if

the infection remain asymptomatic. See Furukawa COVID-19 Transmission Paper. The risk of

transmission is heightened in indoor environments, where infectious droplets may linger for longer

periods of time9. COVID-19 is known to spread very fast in detention centers10.

        The Pfizer vaccine described in Plaintiff’s Complaint is 95 percent effective at preventing

laboratory confirmed COVID cases11. In response to the pandemic, Dona Ana County made the

decision to protect the detainees, the public, and its employees by mandating the COVID-19

vaccine for detention center officers, and others. As such, the County Manager issued the directive

attached to the Plaintiff’s Complaint. As explained below, no preliminary relief should issue and

this Court should deny Plaintiff’s application for restraining order or injunction on the basis that

Plaintiff has failed to illustrate irreparable harm, failed to illustrate a high likelihood of prevailing

on the merits, and failed to explain why his objection should outweigh the safety of the employees

and detainees who have to work or reside at the detention center.

                                        STANDARD OF REVIEW

        Plaintiff has requested a temporary restraining order and a preliminary injunction. This

Court has already denied Plaintiff’s request for a temporary restraining order. See Doc. 7. To the

extent the dual request remains pending, this Court has previously used the standard for



9
   See Nathan W. Furukawa et al., Evidence Supporting Transmission of Severe Acute Respiratory Syndrome
Coronavirus 2 While Presymptomatic or Asymptomatic, Emerging Infections Diseases, Vol. 26, Num. 7 (July 2020),
https://wwwnc.cdc.gov/eid/article/26/7/20-1595_article.
10
    See https://news.stanford.edu/2020/09/24/covid-19-spread-american-prisons/ (last accessed on March 12, 2021);
see also https://news.harvard.edu/gazette/story/2020/08/harvard-study-links-jailing-practices-to-covid-19-spread/;
https://www.cidrap.umn.edu/news-perspective/2020/08/studies-spotlight-high-covid-19-infection-rate-us-prisons.
11
   https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines/Pfizer-
BioNTech.html#:~:text=Information%20on%20how%20well%20the%20vaccine%20works (last accessed on March
12, 2021); see also https://abcnews.go.com/Health/pfizer-vaccine-shows-94-effectiveness-asymptomatic-
transmission-covid/story?id=76389615 (last accessed on March 12, 2021)


                                                        3
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 4 of 15




preliminary injunction to conduct the analysis rather than the standard for a temporary restraining

order, as no ex parte request remains before the Court. See Torres v. City of Albuquerque, 1:17-

CV-00754-MV-SCY, 2017 WL 4162260, fn2 (D.N.M. Sept. 18, 2017).

               A preliminary injunction “is an extraordinary remedy,” and
               accordingly, “the right to relief must be clear and unequivocal.”
               Schrier, M.D. v. Univ. of Colo., 427 F.3d 1253, 1258 (10th Cir.
               2005) (citation omitted). To obtain a preliminary injunction, Rule
               65 of the Federal Rules of Civil Procedure requires the moving party
               to establish that four equitable factors weigh in favor of the
               injunction: “(1) irreparable injury in the absence of the injunction,
               (2) the threatened injury to the moving party outweighs the harm to
               the opposing party resulting from the injunction, (3) the injunction
               is not adverse to the public interest, and (4) the moving party has a
               substantial likelihood of success on the merits.”

Torres at *3. “The movant bears the burden of demonstrating all four prongs’ satisfaction.” Logan

v. Pub. Employees Ret. Assn., 163 F. Supp. 3d 1007, 1026 (D.N.M. 2016)(referring to Automated

Mktg. Sys., Inc. v. Martin, 467 F.2d 1181, 1183 (10th Cir.1972)).

       In addition to the ordinary requirements for an injunction, the Tenth Circuit has identified

several types of injunctions as “disfavored.” Schrier v. U. of Co., 427 F.3d 1253, 1259 (10th Cir.

2005). The Tenth Circuit explained that

               any preliminary injunction fitting within one of the disfavored
               categories must be more closely scrutinized to assure that the
               exigencies of the case support the granting of a remedy that is
               extraordinary even in the normal course. Furthermore, because a
               historically disfavored preliminary injunction operates outside of
               the normal parameters for interim relief, movants seeking such an
               injunction are not entitled to rely on this Circuit’s modified-
               likelihood-of-success-on-the-merits standard. Instead, a party
               seeking such an injunction must make a strong showing both with
               regard to the likelihood of success on the merits and with regard to
               the balance of harms, and may not rely on our modified likelihood-
               of-success-on-the-merits standard.

Schrier, 427 F.3d at 1261 (emphasis removed).




                                                4
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 5 of 15




        Mandatory injunctions are one category of injunction the Tenth Circuit has held to be

disfavored. Id. The Tenth Circuit explained that a mandatory injunction is one which

“affirmatively requires the nonmovant to act in a particular way, and as a result ... places the issuing

court in a position where it may have to provide ongoing supervision to assure the nonmovant is

abiding by the injunction.” Schrier, 427 F.3d at 1261 (citation and brackets removed). See also

ETP Rio Rancho Park, LLC v. Grisham, CIV 21-0092 JB/KK, 2021 WL 431215, at *27 (D.N.M.

Feb. 8, 2021) and Salazar v. San Juan Cty. Det. Ctr., 2016 WL 335447, at *40). In Schrier, the

Tenth Circuit concluded that the request to reinstate a terminated employee was a request for a

mandatory injunction because it would require the court to engage in supervision. The Tenth

Circuit explained that

                [t]here is no doubt that determining whether an injunction is
                mandatory as opposed to prohibitory can be vexing. Indeed, the
                distinction between mandatory and prohibitory injunctions cannot
                be drawn simply by reference to whether or not the status quo is to
                be maintained or upset. As suggested by the terminology used to
                describe them, these equitable cousins have been differentiated by
                examining whether the non-moving party is being ordered to
                perform an act, or refrain from performing. In many instances, this
                distinction is more semantical than substantive. For to order a party
                to refrain from performing a given act is to limit his ability to
                perform any alternative act; similarly, an order to perform in a
                particular manner may be tantamount to a proscription against
                performing in any other.

Schrier, 427 F.3d at 1260.

        Here, as in Schrier, the requested injunction would require this Court to supervise Mr.

Legaretta’s employment, including when and where he might be allowed to work while refusing

to comply with the County’s COVID vaccination requirement for officers at the county detention

center, and whether Defendants could be considered to have “taken any negative action” against

Plaintiff as a result of his refusal, Complaint at 9. Thus, as the requested injunction would require




                                                   5
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 6 of 15




the Court’s supervision, for a potentially long period of time, while the Court decides the

underlying 14th Amendment issues, the injunction is mandatory in nature. The injunction would

also require affirmative acts by the defendants. Specifically, the injunction would require the

defendants to endanger the current and future detainees by exposing them to Mr. Legaretta in his

unvaccinated state or require the affirmative act of transferring him away from the detainees. Any

issues arising from his employment (e.g. supervision, assignments, scheduling, work location or

discipline), could require the Court’s involvement and supervision. Thus, the Court should analyze

the application as a request for a mandatory (disfavored) injunction. Regardless of which

injunctive standard is applied, the Plaintiff cannot meet it.

I.     THE PLAINTIFF HAS FAILED TO MEET HIS BURDEN OF ILLUSTRATING
       THAT HE WILL SUFFER IRREPARABLE HARM.

       It is “well settled that simple economic loss usually does not, in and of itself, constitute

irreparable harm; such losses are compensable by monetary damages.” Schrier, 427 F.3d at 1267.

The “irreparable harm requirement is met if a plaintiff demonstrates a significant risk that he or

she will experience harm that cannot be compensated after the fact by monetary damages but

speculative harm does not amount to irreparable injury[.]” Id. The rule that claims subject to

remedy by monetary damages do not illustrate irreparable harm is not unique to the Tenth Circuit.

See Liberty Lincoln-Mercury, Inc. v. Ford Motor Co., 562 F.3d 553, 557 (3d Cir. 2009); John Doe

Co. v. Consumer Fin. Protec. Bureau, 849 F.3d 1129, 1134 (D.C. Cir. 2017). In explaining

“irreparable harm” The Tenth Circuit emphasized:

               To constitute irreparable harm, an injury must be certain, great,
               actual and not theoretical. Merely serious or substantial harm is not
               irreparable harm. The party seeking injunctive relief must show that
               the injury complained of is of such imminence that there is a clear
               and present need for equitable relief to prevent irreparable harm.

Schrier 427 F.3d at 1267(citation and brackets omitted).



                                                  6
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 7 of 15




       Here, Plaintiff fails to demonstrate imminent irreparable harm. First, Plaintiff has failed to

demonstrate an injury that could not be remedied by monetary damages. Under the worst case

scenario, Plaintiff is terminated. If terminated, money damages are available at a later date should

a jury find in his favor and those damages can fully compensate him for his injury. See Sampson

v. Murray, 415 U.S. 61, 92 n.68 (1974) (absent a “genuinely extraordinary situation,” financial

distress or difficulty caused by termination of employment is not irreparable harm); Overstreet v.

Lexington-Fayette Urban County Government, 305 F.3d 566, 579, (6th Cir. 2002) (stating that the

possibility of losing one’s job while litigation is pending does not constitute irreparable harm

because “income wrongly withheld may be recovered through monetary damages in the form of

back pay”); Cooper v. TWA Airlines, LLC, 274 F. Supp. 2d 231, 239–41(E.D. N.Y. 2003) (denying

application for preliminary injunction prohibiting airline from furloughing flight attendants

because, except in extraordinary situations, loss of employment does not constitute irreparable

injury; the hardships plaintiffs asserted would result from the furloughs—such as concerns about

finding new employment, paying mortgages, and paying for health care—are common to most

discharged employees, and hence did not present an “extraordinary” case); English v. Trump, 279

F. Supp. 3d 307, 322 (D.D.C. 2018), appeal dismissed, 2018 WL 3526296 (D.C. Cir. 2018)

(denying preliminary injunction to government official because job loss rarely constitutes

irreparable injury). Conlay v. Baylor College of Medicine, 2010 WL 774162, at 5-7 (S.D. Tex.

Mar. 3, 2010) (no irreparable injury shown in employment case where money judgment would

fully redress financial loss); Coles v. Delaware River & Bay Auth., 2010 WL 335612, at *5-6 (D.

Del. Jan. 29, 2010) (denying motion for injunctive relief arising out of the termination of plaintiffs’

employment; loss of wages and “injury to reputation and other injuries that are extant with a




                                                  7
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 8 of 15




termination from employment ... do not establish the kind of injury necessary for the court to use

its injunctive power.”).

        Plaintiff has not offered the Court any facts or arguments to support the conclusion that

his claim is a “genuinely extraordinary situation” warranting an exception to the general rule.

Instead, he baldly asserts that:

               Plaintiff could not sue for damages for the tort of retaliatory
               discharge because New Mexico’s sovereign immunity would not
               allow it and such immunity for a retaliatory discharge has not been
               waived in the New Mexico Tort Claims Act. New Mexico’s
               sovereign immunity protects Defendants from suits for monetary
               damages but not suits for injunctions. Lacking the ability to sue for
               damages for retaliatory discharge, Plaintiff will be irreparably
               harmed absent injunctive relief.

See Complaint at *6, ¶16. While no New Mexico Appellate Court has addressed this waiver issue,

Plaintiff is correct that he cannot bring a claim for retaliatory discharge because he is not an at-

will employee. Silva v. Am. Fed’n of State, Cty. & Mun. Emps., 2001-NMSC-038, ¶ 1(retaliatory

discharge is limited to at-will employees because it was created as an exception to the doctrine of

at-will employment to prevent terminations in violation of clear public policy). Nevertheless,

Plaintiff’s ignores various remedies outside the New Mexico Tort Claims Act to reach his empty

assertion that he has no financial remedy and thus meets the imminent harm element. Similarly,

the conclusory statement ignores that damages might be available if, as Plaintiff claims, his

Fourteenth and Fourth Amendment rights were violated. See Complaint at *6-7, ¶17; See also

Application at *2. Plaintiff’s Application for Preliminary Injunction offers a single sentence

supporting his conclusory statement of irreparable harm: “Plaintiff will suffer irreparable injury

unless a TRO and preliminary injunction are granted; he can be harmed in either the potential

physical harm from the unapproved experimental product itself; or harmed by the loss of his

employment for not following an illegal directive.” If, as Plaintiff claims, his constitutional rights



                                                  8
        Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 9 of 15




have been violated (or are being violated), Plaintiff would have a potential monetary remedy. See

42 U.S.C.A. § 1983; see also Plaintiff’s Application alleging procedural and substantive due

process violations. Plaintiff has left the Court without facts from which to find an irreparable injury

and, therefore, has failed to meet his burden of demonstrating irreparable harm.

        Besides failing to illustrate an irreparable injury, the Plaintiff has also failed to offer

anything more than speculation that further disciplinary action is forthcoming or imminent. The

Coaching/Counseling Acknowledgment attached to Plaintiff’s Complaint does not mention or

threaten termination. While the County may eventually impose further disciplinary action against

Plaintiff should he continue to refuse the mandated vaccination, nothing at this point is imminent.

Therefore, Plaintiff has not and cannot met his burden to illustrate an imminent irreparable injury.

        In sum, Plaintiff has failed to meet his burden of establishing an irreparable harm because

an adequate monetary remedy exists in the event he is terminated12. Also, at this point, Plaintiff’s

fears of termination are speculative, and any concerns over forced vaccination are wildly

imaginative and absurd. Plaintiff has failed to demonstrate an irreparable injury and the Court may

stop its analysis here and deny the request for preliminary injunction. See Chavez v. Judd, CV 18-

00020 MV/JHR, 2018 WL 4684206, at *2 (D.N.M. Sept. 28, 2018)(denying a request under Rule

65 and declining to consider the remaining elements when plaintiff failed to make a threshold

showing of “immediate and irreparable harm”).




12
  This is not to say that there is a remedy or that plaintiff would be successful in such an endeavor; however, the
Plaintiff has not met his burden of meeting the irreparable injury standard.



                                                        9
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 10 of 15




II.     THE PLAINTIFF HAS FAILED TO MEET HIS BURDEN OF ILLUSTRATING A
        HIGH-LIKELIHOOD OF SUCCESS ON THE MERITS13.

        Not only has the Plaintiff not met his burden of establishing and immediate and irreparable

harm, he also has failed to meet his burden of illustrating a high-likelihood of success on the merits.

Plaintiff bases his claim on two loosely related theories. First, Plaintiff argues that the Supremacy

Clause somehow prevents the County from requiring mandatory vaccination. See Complaint *4-

5. Second, he argues that he has a 14th Amendment right to a zone of privacy and a right to bodily

integrity prevents him from being subject to a mandatory vaccine. See Complaint at *6-7, ¶17.

Both theories are likely to fail. While Plaintiff may lose his job for refusing the vaccination, he

faces absolutely no threat of forcible vaccination.

        First, regarding Plaintiff’s argument or implication that the mandatory vaccine directive is

precluded by Federal Preemption, the United States Centers for Disease Control and Prevention

has explained: “The Food and Drug Administration (FDA) does not mandate vaccination.

However, whether a state, local government, or employer, for example, may require or mandate

COVID-19 vaccination is a matter of state or other applicable law.”14 Thus, Plaintiff’s argument

that the federal government has intended to occupy the field (Complaint ¶13) is contradicted by

the guidance from the FDA and the CDC. No colorable argument exists that any federal regulation

or regulatory authority occupies the field or prevents mandatory vaccine policies.

        To the extent Plaintiff bases his preemption argument on 21 U.S.C.A. § 360bbb-3, nothing

in that statute indicates any attempt to occupy the field or prevent localities from requiring the



13
   Additionally, the named defendants are not subject to suit under federal Rule 17 and NMSA § 4-46-1. See generally
Angel v Torrance County Sheriff, et al (DNM 8/23/2005 Black); Lamendola v. Taos County Sheriff’s Office, DNM
CIV 18-163-KBM-SCY (September 09, 2018); see also Mayer v. Bernalillo County et al, CIV 18-666-JB-SCY;
Boland v. Sandoval County, 2020 WL 1954014, at *2 (D.N.M. Apr. 23, 2020); and Blake v. Lea County Corr. Facility,
2020 WL 1676949, at *3 (D.N.M. Apr. 3, 2020).
14
   See           https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/essentialworker/workplace-
vaccination-program.html (accessed on March 12, 2021)


                                                        10
      Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 11 of 15




COVID vaccine in vulnerable detention center environments. At most, the statute requires

potential vaccine recipients to be informed of the consequences of refusing the vaccine. See 21

U.S.C.A. § 360bbb-3(e)(1)(A)(ii)(III). Plaintiff offers nothing to support a preemption claim and,

therefore, cannot meet his burden to illustrate a high-likelihood of success.

       Similarly, Plaintiff’s Fourteenth Amendment claim is unlikely to prevail. As the Third

Circuit recently recognized, the argument that a mandatory vaccination program violates the

Fourteenth Amendment was “foreclosed by the Supreme Court’s decision in Jacobson v.

Commonwealth of Massachusetts, 197 U.S. 11, 25 S.Ct. 358, 49 L.Ed. 643 (1905).” Phillips v.

City of New York, 775 F.3d 538, 542 (2d Cir. 2015). Jacobson “settled that it is within the police

power of a state to provide for compulsory vaccination.” Zucht v. King, 260 U.S. 174, 176 (1922).

In Jacobson, “[t]he Court rejected the claim that the individual liberty guaranteed by the

Constitution overcame the State’s judgment that mandatory vaccination was in the interest of the

population as a whole.” Phillips at 542. See also Caviezel v. Great Neck Pub. Schools, 500 Fed.

Appx. 16, 18 (2d Cir. 2012)(unpublished). The Tenth Circuit has also mentioned Jacobson in a

favorable light. See Dunn v. White, 880 F.2d 1188, 1195 (10th Cir. 1989)(“compulsory vaccination

is constitutional”)(quote from parenthetical). See also High Plains Harvest Church v. Polis, 835

Fed. Appx. 372, 374 (10th Cir. 2020)(unpublished)(“we are mindful that state officials may fight

a global pandemic through emergency health orders.”).

       Because federal authorities have recognized that compulsory vaccination is a state law

question and several courts, including the Tenth Circuit and the Supreme Court have held that a

mandatory vaccination program is constitutional, little chance exists that the Plaintiff can succeed

on his underlying claim. More importantly for purposes of the request for an injunction, Plaintiff




                                                 11
       Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 12 of 15




has not met his burden of demonstrating a high-likelihood of success on the merits. Accordingly,

the Court may cease its analysis here and deny the request for preliminary injunction.


III.   THE THREATENED INJURY TO THE PLAINTIFF DOES NOT OUTWEIGH
       THE HARM TO THE DEFENDANTS AND THE INJUNCTION WOULD BE
       AGAINST THE PUBLIC INTEREST.

       For his purported harm, Plaintiff claims (without fact support) that his termination is

imminent and (without fact support) that he risks serious injury from accepting a COVID vaccine.

The absence of evidence or facts supporting those claims should cause the Court pause. Further,

Plaintiff has not mentioned the potential harm to the defendants if the mandatory vaccination

campaign is halted at the detention center.

       Numerous courts have explained that detention centers have a special relationship with

their custodial detainees. See ETP Rio Rancho Park, LLC v. Grisham, CIV 21-0092 JB/KK, 2021

WL 431215, at *32 (D.N.M. Feb. 8, 2021)(“A special relationship exists when the state assumes

control over an individual sufficient to trigger an affirmative duty to provide protection to that

individual (e.g. when the individual is a prisoner or involuntarily committed mental patient).”)

(quoting Uhlrig v. Harder, 64 F.3d 567, 572 (10th Cir. 1995)). See also JL v. New Mexico Dept.

of Health, 165 F. Supp. 3d 996, 1010 (D.N.M. 2015, Vazquez)(“when the state takes a person into

its custody and holds him there against his will, the Constitution imposes upon it a corresponding

duty to assume some responsibility for his safety and general well-being.”) (Internal citation

omitted). Similarly, the New Mexico Tort Claims Act waives immunity for claims based on the

negligent operation of a public building. See NMSA § 41-4-6. This section has been interpreted to

include claims where a facility is operated in a way that creates a danger to the class of users of

the building. See generally Garner v. Dept. of Corrections, 903 P.2d 858 (N.M. App. 1995).




                                                12
      Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 13 of 15




        As the detention center likely has a duty to take action to protect the detainees who cannot

avoid contact with detention officers, such as the plaintiff, the harm to the defendants (and the

detainees in their facility) far outweighs the Plaintiff’s empty claim that the vaccine may cause

him harm. This is especially true in light of all the available evidence regarding the safety of the

COVID vaccines15.

        Thus, if the Court enjoined the compulsory vaccine policy, the County could face state law

premises liability claims or federal civil rights claims over failing to meet its constitutional

obligations to protect detainees from known dangers. The potential harm to the county outweighs

any potential harm to the Plaintiff, and the injunction would be against the public interest in

exposing a vulnerable population to greater risk to placate the unfounded concern of one

individual.


IV.     THE COURT LACKS JURISDICTION TO ISSUE AN INJUNCTION.

        Finally, the “Norris–LaGuardia Act limits the jurisdiction of a district court to issue an

injunction ‘in a case involving or growing out of a labor dispute.’ 29 U.S.C. § 101.” Brady v. Natl.

Football League, 640 F.3d 785, 789 (8th Cir. 2011). “No court of the United States shall have

jurisdiction to issue any ... temporary or permanent injunction in any case involving or growing

out of a labor dispute to prohibit any person or persons participating or interested in such dispute

... from doing, whether singly or in concert, any of several acts. 29 U.S.C. § 104. One of these acts

is ‘refusing ... to remain in any relation of employment.’ 29 U.S.C. § 104(a).” Id. at 790.

        “Congress’s definition of a “labor dispute” is expansive: ‘The term labor dispute includes

any controversy concerning terms or conditions of employment…” Id. “Congress made the


15
  See https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html. (Accessed March 12,
2021); see also https://www.hopkinsmedicine.org/health/conditions-and-diseases/coronavirus/is-the-covid19-
vaccine-safe. (Accessed March 12, 2021)


                                                    13
      Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 14 of 15




definition broad because it wanted it to be broad.” Id. “Congress described categories of such

disputes in sweeping terms: Whether such dispute is (1) between one or more employers or

associations of employers and one or more employees or associations of employees...” Id. See also

Firebird Structures, LCC v. United Bhd. of Carpenters and Joiners of Am., Loc. Union No. 1505,

252 F. Supp. 3d 1132, 1174 (D.N.M. 2017).

        While the Tenth Circuit has not been called upon to apply the Norris–LaGuardia Act where

the plaintiff seeks an injunction preventing an employer from taking an adverse employment action

against an employee, the analysis in Brady applies equally here. As the Plaintiff’s request is an

injunction requiring his employer to maintain an employment relationship with him, the Court

lacks jurisdiction to enter such an Order under the Act.

                                          CONCLUSION

        Plaintiff has failed to meet his burden to establish the Rule 65 factors weight in his favor.

He has failed to illustrate an immediate and irreparable harm; if the Plaintiff is terminated in

violation of state or federal law, his claim would be one for monetary damages and he has not

illustrated any special facts to deviate from the general rule that monetary damage claims do not

qualify for injunctive relief. Similarly, Plaintiff has not illustrated a high likelihood of success on

the merits. Numerous courts have rejected very similar arguments since 1905. Public policy is

served by denying the injunctions so that the County may continue to take action to protect the

detainees and its employees. Finally, the Court lacks jurisdiction to require the County to maintain

an employment relationship with the Plaintiff.

        As such, the Defendants request the Court deny the Plaintiff’s Application for restraining

order or injunctive relief.




                                                  14
     Case 2:21-cv-00179-MV-GBW Document 9 Filed 03/15/21 Page 15 of 15




                                          Respectfully submitted:

                                          NEW MEXICO ASSOCIATION OF COUNTIES

                                          /s/ Brandon Huss
                                          BRANDON HUSS
                                          DAVID A. ROMAN
                                          MARK DREBING
                                          111 Lomas Blvd. Ste. 424
                                          Albuquerque, New Mexico 87102
                                          (505) 820-8116
                                          bhuss@nmcounties.org
                                          droman@nmcounties.org
                                          mdrebing@nmcounties.org
                                          Attorneys for Defendants Macias, Baker, Mendoza,
                                          and Fleming

                              CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2021, I filed the foregoing pleading electronically
through the CM/ECF system, which caused all counsel of record to be served electronically, as
more fully reflected on the Notice of Electronic Filing.

/s/ Brandon Huss
BRANDON HUSS




                                             15
